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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
          v.                                    :       Case No. 1:22-cr-00019-RCL
                                                :
GREGORY PURDY,                                  :
                                                :
                  Defendant.                    :

                      DEFENDANT’S RESPONSE TO GOVERNMENT’S
                    ORAL MOTION TO MODIFY CONDITIONS OF RELEASE

          Defendant Gregory Purdy, through counsel, respectfully responds as follows to the

government’s oral request, made during the status hearing on February 7, 2023, to modify Mr.

Purdy’s conditions of release. The government seeks an order precluding Mr. Purdy from having

any direct or indirect contact with any elected officials without the permission of the Pretrial

Services Agency, and requiring him to report to the Pretrial Services Agency any contact with

law enforcement officials.

          With respect to the second requested condition -- reporting contacts with law

enforcement officials -- we have no objection, so long as the condition is limited to persons

whom Mr. Purdy reasonably would know were law enforcement officers, including uniformed

police officers or officers who otherwise identify themselves as affiliated with a law enforcement

entity.

          With respect to the condition relating to elected officials, however, we do, respectfully,

object. This request appears to be predicated upon a “non-criminal” report from the Syracuse,

New York Police Department that is appended to the last report to the Court from the Pretrial

Services Agency concerning Mr. Purdy. This police report suggests the following:
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   ● Mr. Purdy was observed at one point walking in circles around the Salt City Market, a

       venue in Syracuse, “for what appeared to be no legitimate purpose.”

   ● Mr. Purdy and others entered an event in the same venue, known as the “Mayors Ball,”

       uninvited, during which Purdy had a conversation with the Mayor of Syracuse.

   ● Mr. Purdy was observed taking a video in the same venue.

   ● A drone was seen hovering near the same venue, though no evidence is proffered that Mr.

       Purdy had any role in this.

   ● There is some information in the police report concerning Mr. Purdy’s involvement in

       real estate transactions.

       Mr. Purdy denies that he evaded security to enter the “Mayors Ball.” He simply walked

into the event unimpeded. Not that, nor any of the other conduct described in the police report,

appears to be criminal or pose a danger to any individual. Further, Mr. Purdy’s right to freedom

of association, including his right to communicate with elected officials about matters of concern

to him, is of constitutional dimension. See, e.g., Cal. Democratic Party v. Jones, 5340 U.S. 567

(2000). It is respectfully submitted that no predicate exists here that would warrant

circumscribing that right, including establishing a requirement that he seek permission for any

such contacts from the Pretrial Services Agency.

                                                     Respectfully submitted,

                                                     /s/ Barry Coburn
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2023, I will file this Response via this Court’s ECF

service, which will effect electronic service upon all counsel of record.


                                                      /s/ Barry Coburn
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